                   Case 1:24-cr-00014 Document 7 Filed 06/25/24 Page 1 of 2
                                                                                       FILED
                                                                                         Clerk
                                                                                     District Court
 1                                                                                  JUN 25 2024
 2                                                         for the Northern Mariana Islands
                                                           By________________________
 3                          IN THE UNITED STATES DISTRICT COURT (Deputy Clerk)
                            FOR THE NORTHERN MARIANA ISLANDS
 4

 5    UNITED STATES OF AMERICA,                                     CASE No. 1:24-cr-00014

 6            Plaintiff,
                                                                 ORDER RE: MEDIA ACCESS ON
 7                   v.                                                 JUNE 26, 2024

 8
      JULIAN PAUL ASSANGE,
 9
               Defendant.
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11
            The Federal Rules of Criminal Procedure prohibit “the taking of photographs in the
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     courtroom during judicial proceedings or the broadcasting of judicial proceedings from the
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     courtroom.” Fed. R. Crim. P. 53 (emphasis added). Therefore, there will be no public audio or
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     video streaming of any court proceedings in this case. Cameras, video equipment, photographs,
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     and recordings (audio and video) are prohibited within the courthouse unless authorized by a
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     judicial officer. LR 83.2. After the conclusion of all proceedings in the courtroom, the Jury
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     Assembly Room located on the first floor will be made available as a “press room” for logistical
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     support services to all news organizations and to allow for any press conference by either party. In
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     accordance with my authority pursuant to LR 83.2, members of the media may enter the courthouse
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     with cameras and/or audio-and video equipment for use only at any post-hearing press conference
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     by the parties in the Jury Assembly Room on the first floor. Photographs and recordings (audio
22
     and video) are prohibited in all other public areas in the courthouse at any other time. Any violation
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     ///
24
     //
                                                       1
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 1   of these rules and this order may subject the violator to contempt proceedings and the imposition

 2   of a fine.

 3
             IT IS SO ORDERED this 25th day of June 2024.
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 6                                                       ______________________
                                                         RAMONA V. MANGLONA
 7                                                       Chief Judge

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